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iN THE UNITED sTATES DISTRICT coURTNF_M..L_ w `
FOR THE WESTERN DISTRICT or TENNESSE.“'E.§§:§§§

WESTERN DIVISION ‘.H_;;,w er "n!

 

 

AUDREY MEALS, individually, and as
Wife and next friend of JAMES HARVEY
MEALS, deceased, and as natural
parent, guardian, and next friend

of WILLIAM MEALS, a minor child,

Plaintiff, NO. 03-2077 MT
VS.

CITY OF MEMPHIS, TENNESSEE,

WALTER CREWS, Individually and

as Director of the City of Memphis
Police Department, BRIDGETTE KING,
Individually and as a member of
the City of Memphis Police
Department, and FORD MOTOR
COMPANY,

Defendants.

 

ORDER GRANTING MOTION OF DEFENDANT BRIDGETTE KING FOR
PERMISSION TO FILE A MEMORANDUM IN EXCESS OF TWENTY PAGES

 

This matter came on to be heard upon Defendant's Motion for an
Permission to File a Memorandum in Excess of Twenty Pages from
which it appears to the Court that for good cause shown the Motion
of the Defendant should, be granted, and that the Defendant is
granted permission to file a memorandum in excess of twenty pages.
The Clerk is directed to file the Memorandum previously "received"

by the Clerk.

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This notice confirms a copy of the document docketed as number 297 in
case 2:03-CV-02077 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

